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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

                                       Honorable Thomas B. McNamara

 In re:                                                          )
                                                                 )
 11380 SMITH ROAD, LLC,                                          )        Case No. 18-10965 TBM
 EIN: XX-XXXXXXX,                                                )        Chapter 11
                                                                 )
              Debtor.                                            )


     ORDER GRANTING JOINT MOTION TO APPROVE STIPULATED AGREEMENT
      BETWEEN THE DEBTOR AND 11380 EAST SMITH RD INVESTMENTS, LLC


        THIS MATTER LV before the Court upon the JOINT MOTION TO
APPROVE STIPULATED AGREEMENT BETWEEN THE DEBTOR AND 11380 EAST
SMITH RD INVESTMENTS, LLC ('RFNHW 1R  the “Motion”)1 7KH 'HEWRU DQG 
(DVW 6PLWK 5' ,QYHVWPHQWV //& WKH -RLQW 0RYDQWV DVVHUW WKH\ KDYH SURYLGHG SURSHU
QRWLFH RI WKH 0RWLRQ DQG WKH 6WLSXODWHG $JUHHPHQW 'RFNHW 1R  DQG QR REMHFWLRQ KDV
EHHQ ILOHG %DVHG RQ WKH UHSUHVHQWDWLRQV PDGH LQ WKH 0RWLRQ ZKLFK DUH XQFRQWHVWHG E\ DQ\
SDUW\ LQ LQWHUHVW WKH &RXUW

       FINDS THAT the Debtor has exercised its “business judgment” under Section 363(b) of
the Bankruptcy Code to enter into the Agreement; DQG

            ORDER6 THAT the Motion is hereby granted;

            FURTHER ORDER6 that the Agreement is approved;

         FURTHER ORDER6 that a copy of the Agreement DSSURYHG E\ WKLV 2UGHU LV appended
 to thH 0RWLRQ DW 'RFNHW 1R 

        FURTHER ORDER6 that either the Debtor or Lender may seek an order from the
 Court, to the extent they deem it necessary, WR enforcH the terms of the Agreement DV
 EHWZHHQ WKH 'HEWRU DQG WKH /HQGHU; DQG

         FURTHER ORDER6 WKDW WR WKH H[WHQW SHUPLWWHG E\  86& 6HFWLRQV  DQG
  the Bankruptcy Court shall retain jurisdiction to, among other things, implement,
 interpret and/or enforce the terms of the Agreement and to adjudicate, if necessary, any and all
 disputes concerning or relating in any way to the Agreement DV EHWZHHQ WKH 'HEWRU DQG WKH
 /HQGHU.


 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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      DATED this 29th day of June, 2018

                                          BY THE COURT:



                                          _____________________________________
                                          Honorable Thomas B. McNamara
                                          United States Bankruptcy Judge




                                            2
